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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------------- X
                                                                       :
DINO ANTOLINI,                                                         :
                                                                       :
                                    Plaintiff,                         :
                                                                       :     19-CV-9674 (JMF)
                  -v-                                                  :
                                                                       :          ORDER
HAROLD THURMAN, et al.,                                                :
                                                                       :
                                    Defendants.                        :
                                                                       :
---------------------------------------------------------------------- X

JESSE M. FURMAN, United States District Judge:

        On December 29, 2020, Defense counsel filed a statement noting the death of Defendant
Harold Thurman. ECF No. 112. The following day, the Court issued an Order reminding the
parties that in accordance with Rule 25(a) of the Federal Rules of Civil Procedure, a motion for
substitution of the proper party must be filed within ninety days of service of the Statement of
Death “by a party or by the decedent’s successor or representative.” ECF No. 113 (quoting Fed.
R. Civ. P. 25(a)(1)). In the absence of such a motion, “the action by or against the decedent must
be dismissed.” Fed. R. Civ. P. 25(a)(1).

        To date, no such motion has been filed. Accordingly, and pursuant to Rule 25(a)(1), any
claims brought against Harold Thurman are hereby DISMISSED, as are any counterclaims
brought by Harold Thurman. The Clerk of Court is directed to terminate Harold Thurman as a
party to this action.

        SO ORDERED.

Dated: March 30, 2021                                      __________________________________
       New York, New York                                           JESSE M. FURMAN
                                                                  United States District Judge
